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                    EXHIBIT 3
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    CONSECO I.JFB lNSUR:ANCE COMPANY
    11825 N. Pennsylvania Street
    P.O; Box 1960
    Carmel,lN 460s2-1960 .
    (800)525-7662
                                                                                 ~.
                                                                        CONSECO ..


         December 11, 200S


         JOE H CAMP




                                      IHTEUaT SSil~ITiVE. '~OLE LIFE
                                   OPTIONAL PREMIUM PAY~NT PROVISION
                                            SHORTFALL NOTICE

        Re:      Poliey Number: 1090095604
                 Insured Name:   Joe H Camp
                 Payment Required: $78,274.97
                 Payment Due Date: January 16, 2009
        Dear Policy Owner:
       Final Notice: This policy has reached a point where it can no longer
       be maintained under the Opti'onal Premium payment provision. The
       ~current accumulation account value' no longer exceeds the sum of the
       guaranteed ca·sh value. plus the surrender charge and any debt • The
     . payment amount requested represents the shortfall payment required to
       maintain the policy's'guaranteed values.
       The requesteCi payment: must be received in the Home office no iater than
       January 16, 2009. If the payment requested is not received. by·the due
       date, the policy· will be placed on its Nonfodeiture.Provision of
       Continuation of Insurance.                     .
       Upon receipt of this payment~ your policy.will res,ume regular premium
       billings on a. quarterly. basis. You may cont~ct our office if you would
       like to request a mod.e other than quarterly·billings.     .
       A return envelope is enclosed for your convenience.· If you have any
       questions, please cO'ntact your Conseco Life I·nsurance Coinpany
       representative.
       Sincerely,
       policypolder Service Department
       Enclosure
       cc:          PYRAMIDAL FUNDING SYSTEMS INC
                    42NI295
                    {..PR9071


                                                                       BC-0027
